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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                        Case No. 07-CR-20411

vs.
                                                        HON. GEORGE CARAM STEEH

D-5 ERNEST HAYES,

                Defendant.
_____________________________/


                        ORDER DENYING MOTION FOR BOND

       Upon review of the Addendum to Pretrial Services Report and for reasons stated

on the record at the earlier detention hearing held on April 3, 2008,

       IT IS HEREBY ORDERED that Defendant’s oral Motion made on October 21, 2008

for Bond is DENIED.



                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

Dated: December 3, 2008

                                  CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record on December 3, 2008, by
electronic and/or ordinary mail.


                                          s/Marcia Beauchemin
                                          Case Manager/Deputy Clerk
